      Case 3:23-cv-00770-RFL           Document 79   Filed 06/26/24   Page 1 of 2



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10

11                                   UNITED STATES DISTRICT COURT

12                              NORTHERN DISTRICT OF CALIFORNIA

13

14   DEREK L. MOBLEY, for and on behalf of            Case No. 3:23-cv-00770-RFL
     himself and other persons similarly situated;
15                                                    DEFENDANT WORKDAY, INC.’S
                        Plaintiff,                    NOTICE OF SUPPLEMENTAL
16                                                    AUTHORITY
            v.
17
     WORKDAY, INC.
18
                        Defendant.
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                                                              DEFENDANT’S NOTICE OF SUPPL. AUTHORITY
                                                                          CASE NO. 3:23-CV-00770-RFL
      Case 3:23-cv-00770-RFL           Document 79        Filed 06/26/24       Page 2 of 2



 1          Defendant Workday, Inc. hereby notifies the Court of newly issued authority relevant to

 2   its Motion to Dismiss Plaintiff’s First Amended Complaint (ECF No. 50). On June 24, 2024, the

 3   United States Court of Appeals for the Ninth Circuit issued a memorandum opinion in Liu v.

 4   Uber Technologies, Inc., affirming the district court’s dismissal of the putative class action for

 5   failure to “plead[] sufficient facts to support [the plaintiff’s] claims of disparate impact and

 6   disparate treatment.” Nos. 22-16507 & 22-16712, at 3 (9th Cir. 2024). Workday cited the district

 7   court’s decision in this case several times in both of its motions to dismiss Plaintiff’s complaints.

 8   See Motion to Dismiss First Amended Complaint, ECF No. 50 at 10, 12, 14; Motion to Dismiss

 9   Complaint, ECF No. 17 at 12, 21-22, 24. A true and correct copy of the decision is attached

10   hereto as Exhibit 1.

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12    Dated: June 26, 2024                               ORRICK, HERRINGTON & SUTCLIFFE LLP
13

14                                                         By:             /s/ Erin Connell
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